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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
                vs.                                )                    8:06CR310
                                                   )
KYLE R. STEENBLOCK,                                )          SCHEDULING ORDER
                                                   )
                        Defendant.                 )


       IT IS ORDERED that the following is set for hearing on October 25, 2006 at 2:30 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Motion for Review of Detention [27] filed by the defendant

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 20th day of October, 2006.

                                                BY THE COURT:


                                                s/ F.A. Gossett
                                                United States Magistrate Judge
